Case 2:11-cr-20129-RHC-EAS ECF No. 1603, PageID.19242 Filed 12/11/15 Page 1 of 5




                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

 UNITED STATES OF AMERICA,
                                              Criminal No. 2:11-cr-20129
                    Plaintiff,
                                              Honorable Robert H. Cleland
 vs.

 D-47, MELISSA SUE GORDON,

                Defendant.
 ________________________________/

                   PRELIMINARY ORDER OF FORFEITURE

       The United States filed an Unopposed Application for Entry of Preliminary

 Order of Forfeiture (“Application”) seeking a forfeiture order for any firearm and

 ammunition involved in or used in Defendant Melissa Sue Gordon’s knowing

 violation of 18 U.S.C. ' 922(g)(1), as alleged in Count One of the Eleventh

 Superseding Information, including, but not limited to, the following:

             (a)    One (1) Springfield Arms 9mm XD-9 handgun,
                    Serial Number: XD105619 (1B-1430);

             (b)    One Magazine removed from Springfield Arms 9mm (1B-
                    1431);

             (c)    Forty-Two (42) rounds of 9mm Luger ammunition removed
                    from magazine of Springfield Arms (1B-1432);

             (d)    One (1) Springfield Arms magazine holder containing two (2)
                    Springfield Arms magazines (one magazine holds sixteen
                    rounds of ammunition and one magazine holds fifteen rounds of
                    ammunition) (1B-1433);
Case 2:11-cr-20129-RHC-EAS ECF No. 1603, PageID.19243 Filed 12/11/15 Page 2 of 5




              (e)    One (1) Charter Arms .38 caliber Undercover revolver, Serial
                     No. 658132 (1B-1434); and

              (f)    Five (5) rounds of .38 caliber SPL+P ammunition removed
                     from Charter Arms revolver (1B-1435)

  (hereinafter collectively referred to as the “Subject Property”).

       Based upon the information contained in the Application, the contents of the

 Rule 11 Plea Agreement entered into by Defendant Melissa Sue Gordon

 (“Defendant”), Defendant’s guilty plea to violating 18 U.S.C. ' 922(g)(1), as

 alleged in Count One of the Eleventh Superseding Information, Defendant’s

 agreement to forfeit the Subject Property, and other information in the record, IT

 IS HEREBY ORDERED, ADJUDGED AND DECREED THAT:

 1.    Pursuant to 18 U.S.C. § 924(d) together with 28 U.S.C. § 2461(c) and

       Fed.R.Crim.P. 32.2, the Subject Property IS HEREBY FORFEITED to

       the United States for disposition in accordance with the law, and any right,

       title or interest of Defendant in such property IS HEREBY AND

       FOREVER EXTINGUISHED.

 2.    Based upon the information and agreements contained in Defendant’s Rule

       11 Plea Agreement, and other information in the record, there is a sufficient

       nexus between the Subject Property and Defendant’s offense, and therefore,

       the Subject Property is forfeitable to the United States pursuant to 18 U.S.C.

       § 924(d) together with 28 U.S.C. § 2461(c).
                                            2
Case 2:11-cr-20129-RHC-EAS ECF No. 1603, PageID.19244 Filed 12/11/15 Page 3 of 5




 3.    This Order shall become final as to Defendant at the time it is entered.

 4.    The forfeiture of the Subject Property shall be made part of Defendant’s

       sentence and included in Defendant’s Judgment, and this Preliminary Order

       of Forfeiture shall be incorporated by reference in the Judgment.

 5.    Upon entry of this Preliminary Order of Forfeiture, the United States

       Attorney General or his designee is authorized to commence any applicable

       proceeding to comply with the statutes governing third party rights,

       including giving notice of this Order.

 6.    Pursuant to 21U.S.C. § 853(n), the United States shall publish notice of this

       Preliminary Order of Forfeiture and of its intent to dispose of the Subject

       Property in such manner as the Attorney General may direct on

       www.forfeiture.gov for at least thirty (30) consecutive days. Said notice

       shall direct that any person, other than the Defendant, asserting a legal

       interest in the Subject Property, may file a petition with the Court within

       thirty (30) days of the final publication of notice or of receipt of actual

       notice, whichever is earlier. The petition shall be for a hearing before the

       Court alone, without a jury and in accordance with 21 U.S.C. § 853(n), to

       adjudicate the validity of the petitioner’s alleged interest in the Subject

       Property. Pursuant to 21 U.S.C. § 853(n), any petition filed by a third party

       asserting an interest in the Subject Property must be signed by the petitioner


                                            3
Case 2:11-cr-20129-RHC-EAS ECF No. 1603, PageID.19245 Filed 12/11/15 Page 4 of 5




       under penalty of perjury and must set forth the nature and extent of the

       petitioner’s alleged right, title or interest in the Subject Property, the time

       and circumstances of the petitioner’s acquisition of the right, title, or interest

       in the Subject Property, any additional facts supporting the petitioner’s

       claim, and the relief sought. Pursuant to 21 U.S.C. § 853(n), the United

       States may also, to the extent practicable, provide direct written notice to

       any person or entity known to have an alleged interest in the Subject

       Property.

 7.    The United States is hereby authorized, pursuant to 21 U.S.C. § 853(n) and

       Federal Rules of Criminal Procedure 32.2 (c), to conduct any discovery in

       the ancillary proceeding in accordance with the Federal Rules of Civil

       Procedure upon a showing that such discovery is proper and desirable.

 8.    Pursuant to 21 U.S.C. § 853(n), following the Court’s disposition of any

       petitions for ancillary hearing, or, if none, following the expiration of the

       period provided in 21 U.S.C. § 853(n) for the filing of third party petitions,

       the United States shall have clear title to the Subject Property, all other

       interests in the Subject Property shall be FORFEITED to the United States,

       this Order shall become the Final Order of Forfeiture as provided by Federal

       Rule of Criminal Procedure 32.2(c)(2), and the United States shall be

       authorized to dispose of the Subject Property as prescribed by law.


                                            4
Case 2:11-cr-20129-RHC-EAS ECF No. 1603, PageID.19246 Filed 12/11/15 Page 5 of 5




 9.    The Court retains jurisdiction to enforce this Order, and to amend it as

       necessary, pursuant to Federal Rule of Criminal Procedure 32.2(e).

       IT IS SO ORDERED.

                                              s/Robert H. Cleland
 Dated: December 11, 2015                     HON. ROBERT H. CLELAND
                                              United States District Judge




                                          5
